                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 JOSHUA JARRETT, et al.,

        Plaintiffs,                                Case No. 3:21-cv-00419

 v.                                                Judge William L. Campbell, Jr.
                                                   Magistrate Judge Alistair E. Newbern
 UNITED STATES OF AMERICA,

        Defendant.


                                             ORDER

       On July 21, 2021, Plaintiffs Joshua Jarrett and Jessica Jarrett filed a motion to continue the

initial case management conference. (Doc. No. 20). The motion is GRANTED. The initial case

management conference is CONTINUED to August 13, 2021, at 10:00 a.m. Counsel for each party

shall call (888) 557-8511 and enter access code 7819165# to participate.

       The parties are reminded of their obligation to file a joint proposed case management order

no later than three business days before the conference. The parties shall also email a Word version

of the joint proposed case management order to Newbern_Chambers@tnmd.uscourts.gov.

       It is so ORDERED.

                                                      ____________________________________
                                                      ALISTAIR E. NEWBERN
                                                      United States Magistrate Judge




      Case 3:21-cv-00419 Document 21 Filed 07/23/21 Page 1 of 1 PageID #: 57
